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 7
     TOKIN CORPORATION and TOKIN AMERICA, INC.
 8

 9                      UNITED STATES DISTRICT COURT
10                    NORTHERN DISTRICT OF CALIFORNIA
11
                               SAN JOSE DIVISION
12

13   IN RE INDUCTORS ANTITRUST           Case No. 5:18-cv-00198-EJD-NC
     LITIGATION
14                                       DEFENDANT TOKIN
                                         CORPORATION’S CORPORATE
15                                       DISCLOSURE STATEMENT AND
                                         DISCLOSURE OF NON-PARTY
16                                       INTERESTED ENTITIES OR
                                         PERSONS
17
                                         [Fed. R. Civ. P. 7.1 and Civ. L.R. 3-15]
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                                              TOKIN CORPORATION’S CORPORATE DISCLOSURE
                                                STATEMENT & CERT. OF INTERESTED ENTITIES
                                                               CASE NO. 18-cv-00198-EJD-NC
                                                                          4838-7623-1281.v1
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 1          Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Civil Local Rule 3-

 2   15, Defendant TOKIN Corporation discloses and certifies as follows:

 3          TOKIN Corporation is a wholly-owned subsidiary of KEMET Electronics

 4   Corporation, which is a wholly-owned subsidiary of KEMET Corporation, which is a

 5   publicly traded company.

 6          Dated: September 4, 2018.

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12                                                         Jacob R. Sorensen
13
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                                                                         CASE NO. 18-cv-00198-EJD-NC
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